

People v Louis (2022 NY Slip Op 02764)





People v Louis


2022 NY Slip Op 02764


Decided on April 26, 2022


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: April 26, 2022

Before: Renwick, J.P., Kapnick, Gesmer, Moulton, Shulman, JJ. 


Ind. No. 2997/17 Appeal No. 15794 Case No. 2019-44 

[*1]The People of the State of New York, Respondent,
vRuben Louis, Defendant-Appellant.


Janet E. Sabel, The Legal Aid Society, New York (Adrienne M. Gantt of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Kerry Fulham of counsel), for respondent.



Judgment, Supreme Court, New York County (Curtis J. Farber, J.), rendered September 7, 2018, convicting defendant, upon his plea of guilty, of grand larceny in the third degree, and sentencing him to a term of five years' probation, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the sentence to four years' probation, and otherwise affirmed.
We find the sentence excessive to the extent indicated. THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: April 26, 2022








